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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                                   CASE NO. 13-cv-23429-UNGARO
  MITCHELL ROSARIO,

          Plaintiff,

  vs.

  12425, INC., a Florida for-profit corporation d/b/a
  STIR CRAZY, LAURA INSUA, MANUEL
  INSUA, and HERIBERTO FLOREZ,

          Defendants.
                                                   /

                      PLAINTIFF’S MOTION FOR PARTIAL
           SUMMARY JUDGMENT AND MEMORANDUM OF LAW IN SUPPORT

          The Plaintiff, Mitchell Rosario, pursuant to Fed.R.Civ.P. 56, files this Motion for Partial
  Summary Judgment and Memorandum of Law in Support, and says:
                                  BACKGROUND AND SUMMARY

          From 2001 to September 21, 2013, the Plaintiff Rosario was employed as a disc jockey
  (“DJ”) at 12425, INC. d/b/a Stir Crazy, (hereinafter “Stir Crazy” or “the club”), an exotic dance
  club in Miami, Florida. The Plaintiff has brought the instant action against the following
  Defendants whom the Plaintiff contend were his employers: Stir Crazy; Heriberto “Eddie”
  Florez, the general manager; Laura Insua, an owner of Stir Crazy; and, Manuel Insua,1
  (hereinafter “Insua Jr.”), who owns the building where Stir Crazy operates.                 The Plaintiff
  maintains he was misclassified as an independent contractor, and received no wages from
  Defendants for the DJ work he performed at the club. Instead, he received money only from the
  exotic dancers at Stir Crazy, and was required to pay $25 per shift to the club. The Plaintiff
  seeks his unpaid minimum wages and overtime pursuant to the Fair Labor Standards Act,
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    There are two individuals named Manuel Insua. There is Manuel Insua, who is a named Defendant in
  this case and is the son of Manuel Insua, who is not a Defendant in this case, but is subject to a separate
  action involving the same issue. See Rosario v. Manuel Insua a/k/a Manuel Insua Sr., CASE NO. 1:14-
  CIV-21804-LENARD. To avoid confusion, the named Defendant in this case who is the son will be
  referred to as “Insua, Jr.” Manuel Insua who is not a named Defendant and is the father of the Defendant
  in this case is referred to as “Insua Sr.” Such references are also contained in the deposition testimony
  submitted contemporaneously with this Motion.

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  (“FLSA”), 29 U.S.C. §201 et. seq., (Counts I and III). The Plaintiff also seeks unpaid minimum
  wages pursuant to the Florida Constitution, Article X, §24 and the Florida Minimum Wage Act,
  §448.110, (Count II). Finally, the Plaintiff has asserted a claim for retaliation under the FLSA
  and Florida minimum wage law, (Count IV), as well as a claim for unjust enrichment based on
  the $25 per shift he had to pay to the club, (Count V). Defendants deny the Plaintiff is owed any
  wages, and instead claim he is an independent contractor.
          In the instant Motion, the Plaintiff seeks partial summary judgment in his favor on the
  following issues: (1) whether the Plaintiff was an “employee” of Stir Crazy as defined by the
  FLSA and the Florida minimum wage law when he worked there as DJ and therefore entitled to
  be paid wages; (2) whether Heriberto Florez, the general manager, was the Plaintiff’s “employer”
  subject to individual liability under the FLSA; and, (3) whether Stir Crazy and Florez retaliated
  against the Plaintiff when Florez informed the Plaintiff he was terminated because the Plaintiff had
  complained about his wages.
          The Plaintiff maintains he is entitled to judgment in his favor as a matter of law as to all
  of those issues. First, under the applicable “economic realities” test, the Plaintiff was an
  employee of Defendant Stir Crazy and entitled to be paid wages because all the relevant factors
  point to economic dependence, and not to an individual in business for himself. If the Court
  finds the Plaintiff was an employee, then Stir Crazy has violated the FLSA because it already has
  admitted it paid the Plaintiff no wages and required him to pay the club $25 per shift. Second,
  Defendant Florez, as the general manager of the club and the supervisor of the Plaintiff, easily
  fits the definition of an FLSA employer since, among other things, he was involved in all aspects
  of the club, involved in payroll, involved in employee supervisions and compensation, hired and
  fired workers, and even came up with the idea of having the Plaintiff sign an independent
  contractor agreement. Third, since the Defendant’s general manager Florez has admitted he fired
  the Plaintiff for complaining about his wages on the same day he learned about the wage
  complaint, there is no dispute the Defendants Florez and Stir Crazy retaliated against the
  Plaintiff.
          The Defendant Stir Crazy has stipulated that it is covered by the FLSA, (PF ¶7), and
  therefore, that fact has been established. The Plaintiff, however, maintains there are disputes of
  material fact precluding summary judgment on the remaining issues; namely, the liability of the
  individual Defendants Insua, Jr. and Laura Insua; the amount of damages owed for the overtime,

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  minimum wage, retaliation and unjust enrichment claims; whether Defendants violation was
  willful; and, entitlement to liquidated damages.
         In support of this Motion, the Plaintiff has contemporaneously filed a Statement of
  Undisputed Material Facts, (“PF”), with attached Exhibits A to H.


                                        MEMORANDUM OF LAW
  I.     SUMMARY JUDGMENT STANDARD
         Rule 56 Summary judgment “requires the movant to establish the absence genuine issues
  of material fact, such that the movant is entitled to judgment as a matter of law. Fed.R.Civ.P.
  56(c). An issue of fact is “genuine” only if the record taken as a whole could lead a rational trier
  of fact to find for the non-moving party. See Matsushita Electric Indus. Co. v. Zenith Radio
  Corp., 475 U.S. 574, 586 (1986). If the movant meets its initial burden, then "the non-moving
  party must make a sufficient showing to establish the existence of each essential element to that
  party's case, and on which that party will bear the burden of proof at trial." Howard v. B.P. Oil
  Co., Inc., 32 F.3d 520, 524 (11th Cir. 1994) (citation omitted). On summary judgment, the court
  must view the evidence “in the light most favorable to the non-moving party and draw all
  reasonable inferences in favor of that party.” Matsushita Elec. Indus. Co., Ltd. v. Zenith Radio
  Corp., 475 U.S. 574, 587 (1986). A court must not “weigh the evidence or determine the truth of
  the matter. . . .” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 249 (1986).

  II.    THE PLAINTIFF WAS AN EMPLOYEE OF STIR CRAZY UNDER THE FLSA

         The FLSA, 29 U.S.C. §§206 and 207 require the payment of overtime and minimum
  wages. The FLSA, however, applies only to employees. Freund v. Hi-Tech Satellite, Inc., 185
  Fed.Appx. 782 (11th Cir. 1986) (unpublished). The FLSA defines an employer broadly to
  “include any person acting directly or indirectly in the interest of an employer in relation to an
  employee,” 29 U.S.C. §203(d). The FLSA defines the term “person” as “an individual,
  partnership, association, corporation, business trust, legal representative, or any organized group
  of persons.” 29 U.S.C. §203(a) (emphasis added). The FLSA defines an employee as “any
  individual employed by an employer,” 29 U.S.C. § 203(g). A company employs an individual
  under the FLSA, when it simply “suffers or permits” that individual to perform work. Id. The
  Florida Minimum Wage Amendment, Art. X, §24(b) adopts the meaning of employer and


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  employee under the FLSA and its implementing regulations. The FLSA defines employment
  with “striking breadth” to accomplish its remedial purpose. Nationwide Mutual Insur. Co. v.
  Darden, 503 U.S. 318, 326 (1992) (citing Rutherford Food Corp. v. McComb, 331 U.S. 722, 728
  (1947)); Antenor v. D & S Farms, 88 F.3d 925, 933 (11th Cir. 1996) (stating the FLSA is a
  remedial statute that must be construed broadly).
           When determining whether a company is an employer under the FLSA, courts look not
  to the common law definition of employment, but rather to the “economic reality” of whether the
  putative employee is economically dependent upon the alleged employer or a contractor in
  business for himself. See Rutherford Food Corp., 331 U.S. at 728-30. The determination of an
  employment relationship “does not depend on . . . isolated factors but rather upon the
  circumstances of the whole activity.” Rutherford Food Corp., 331 U.S. at 730; Alvarez Perez v.
  Sanford-Orlando Kennel Club, Inc., 515 F.3d 1150, 1160 (11th Cir. 2008) (citation omitted).
        In applying the “economic reality” test for the purpose of determining whether a company
  is an FLSA employer, the Eleventh Circuit is guided by several factors:
         (1) the nature and degree of the alleged employer's control as to the manner in
         which the work is to be performed;
         (2) the alleged employee's opportunity for profit or loss depending upon his
         managerial skill;
         (3) the alleged employee's investment in equipment or materials required for his
         task, or his employment of workers;
         (4) whether the service rendered requires a special skill;
         (5) the degree of permanency and duration of the working relationship;
         (6) the extent to which the service rendered is an integral part of the alleged
         employer's business.

  Freund, 185 Fed.Appx. at 783 (citing Sec’y of Laborv. Lauritizen, 835 F.2d 1529, 1535 (7th Cir.
  1987)). “‘No one of these considerations can become the final determinant, nor can the collective
  answers to all of the inquiries produce a resolution which submerges consideration of the
  dominant factor-economic dependence.’” Id. (quoting Usery v. Pilgrim Equip. Co., 527 F.2d
  1308, 1311 (5th Cir. 1976)). The determination of who is an employer under the FLSA is a question
  of law, but the subsidiary findings are questions of fact. Id. (citing Patel v Wargo, 803 F.2d 632,
  634 n.1 (11th Cir. 1986)).
        In applying the economic realities test, the intent of the parties to create an employment
  relationship is “irrelevant.” Donovan v. New Floridian Hotel, Inc., 676 F.2d 468, 470-471 (11th
  Cir. 1982) (citation omitted). See also Freund, 185 Fed.Appx. at 783 (not listing an individual’s

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  subjective belief about her employment status as a factor that guides an inquiry in this Circuit
  into the economic reality of a work relationship). Likewise, merely labeling an individual as an
  employee or an independent contractor is not dispositive. Santelices v. Cable Wiring et al., 147
  F. Supp. 2d 1313, 1318 (S.D. Fla. 2001). See also Ansoumana v. Gristede's Operating Corp.,
  255 F.Supp.2d 184, 190 (S.D. N.Y. 2003) (“An employer's characterization of an employee is
  not controlling ... for otherwise there could be no enforcement of any minimum wage or
  overtime law.”). “Where the work done, in its essence, follows the usual path of an employee,
  putting on an ‘independent contractor’ label does not take the worker from the protection of the
  Act.” Rutherford Food Corp., 331 U.S. at 729.
        Moreover, an individual’s characterization for tax purposes is not relevant to the issue of
  employee status. Harrell v. Diamond A Entm’t, Inc., 992 F.Supp. 1343, 1353 (M.D. Fla.1997).
  See also, Gordilis v. Ocean Drive Limousines, Inc., 2014 WL 2214289 (S.D. Fla. 2014) (King,
  J.) (“label workers use for the IRS is irrelevant); Robicheaux v. Radcliff Material, Inc., 697 F.2d
  662 (5th Cir. 1983) (welders were “employees” even though they signed contract stating they
  were independent contractors, furnished their own equipment and insurance coverage, were self-
  employed on their tax returns and had their own business cards). An employee’s right to
  overtime and a minimum wage under the FLSA is nonwaivable. Barrentine v. Arkansas-Best
  Freight System, Inc., 450 U.S. 728, 740 (1981).
        As set forth in more detail below, all six of the factors under the economic reality test
  weigh in favor of finding the Plaintiff was an employee of Stir Crazy.
         1. Defendants Exercised Significant Control Over Plaintiff’s Work
        Here, the testimony of the Stir Crazy’s corporate representative and others shows
  Defendant Stir Crazy exercised significant control over the Plaintiff’s work. For example, the
  Plaintiff was required to promote over the microphone the club’s upcoming events and drink
  specials. (Plaintiff’s Statement of Undisputed Material Facts, (hereinafter “PF”), ¶14). DJ’s were
  told to find another place to work if they broke club rules. (PF ¶¶15-6). Stir Crazy required DJ’s
  to arrive 15 to 20 minutes prior to the start of their shift, (PF ¶25), and required that Rosario and
  other DJ’s show up for their shifts and arrive on time, (PF ¶41).
        Only DJ’s were allowed in the DJ booth. (PF ¶26). Stir Crazy required DJ’s to call the
  dancers on stage in the order which the dancers arrived at work. (PF ¶27). Stir Crazy required
  DJ’s to wear collar shirts and look well-groomed. (PF ¶29). DJ’s were limited to playing two

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  songs per dancer, and the songs could not be too long. (PF ¶30). Stir Crazy set the $10 amount
  the dancers paid to the DJ’s, required the DJ’s to pay $25 to the club, and determined no wages
  would be paid to the Plaintiff. (Pf ¶¶ 8-11). The Plaintiff and other DJ’s also were required to
  email Defendant, Manuel Insua Jr. a list of dancers working on each shift and their arrival times.
  (PF ¶24). The Plaintiff was required to answer the club’s phone and route calls. (PF ¶28). The
  Plaintiff was required to submit an application to be a DJ. (PF ¶20).
       DJ’s were texted to come into work if needed. (PF ¶17). Florez, the general manager,
  prepared the schedule on the computer. (PF ¶19). Florez had final approval of the DJ’s schedule,
  including the Plaintiff’s schedule, approved the number of days Rosario worked per week, could
  take a DJ off the schedule, asked DJ’s to cover shifts, and wanted certain DJ’s to work with
  certain crowds. (PF ¶19, 41). During the time he worked at Stir Crazy, Rosario was removed
  from the schedule on two occasions. (PF ¶31). The Plaintiff also was terminated. (PF ¶74).
        Club management could discipline DJ’s for many reasons such as having others in the DJ
  booth, playing more than two songs for a dancer, calling dancers on stage in the wrong order,
  using the internet too much, having a wandering mind, or doing something that a manager did
  not like. (PF ¶¶ 26, 27, 32). Stir Crazy also set the $10 fee the dancers were required to pay to
  the DJ. (PF ¶¶ 33-34). Managers would resolve arguments between DJ’s and dancers. (PF ¶89).
       Management at Stir Crazy also exerted control and influence over music the DJ’s played in
  the club. The Plaintiff met with Florez and other managers regarding the type of music to play,
  DJ attitudes, what management wanted done, promoting the club, and how to do things better.
  (PF ¶21). Stir Crazy also made DJ’s attend Responsible Vendors meetings. (PF ¶21). Stir Crazy
  required the music to be high energy to keep people awake, ensure a good time, and attract
  people to the club. (PF ¶22).     It was important that the club had a high energy mood, and
  different types of music attract different crowds. (PF ¶22). If the general manager Florez did not
  like a song the DJ was playing, he would request a change, tell that DJ to stop playing the song
  altogether, or he would tell a manager to speak to the DJ. (PF ¶23). Florez did not like Latin
  music played too much, and does not think customers would like it either. (PF ¶23).
         The Defendants may argue that Plaintiff and other DJ’s had a choice regarding what type
  of music to play, and needed to play songs that the customers wanted to hear so the club would
  be more profitable. However, all businesses on some level have a goal of pleasing their
  customers and implementing their request, so the act of a worker implementing such customer

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  requests does not turn the worker into an independent contractor. “An employer cannot saddle a
  worker with the status of independent contractor, thereby relieving itself of its duties under the
  F.L.S.A., by granting him some legal powers where the economic reality is that the worker is not
  and never has been independently in the business which the employer would have him operate.”
  Mednick v. Albert Enters., Inc., 508 F.2d 297, 303 (5th Cir. 1975) (applying the economic reality
  test to determine worker was an employee). See also Harrell v. Diamond A Entm’t, Inc., 992
  F.Supp. 1343, 1349 (M.D. Fla. 1997) (“The mere fact that [the club] has delegated a measure of
  discretion to its dancers does not necessarily mean that its dancers are elevated to the status of
  independent contractors”).

         The aforementioned facts, showing the control over the Plaintiff’s work, weigh in favor
  of finding the Plaintiff was an employee of Stir Crazy under the FLSA.

         2. Defendant Stir Crazy Determined Plaintiff's Opportunity for Profit or Loss

         Here, the Plaintiff’s ability to earn money was dependent on Stir Crazy, and his
  managerial skill had no bearing on his earnings. Stir Crazy required dancers to pay the Plaintiff
  $10 per shift for him being a DJ, Rosario was required to pay $25 per shift to the club, and Stir
  Crazy paid him no wages. (PF ¶¶ 8-12, 84). Rosario did not get a percentage of the club’s profits
  and had no ownership interest in the club. (PF ¶45, 46). Stir Crazy’s general manager controlled
  the number of dancers working on each shift, (PF ¶55), which affect the number of $10 tip outs
  he received per shift since the dancers paid the DJ $10 per shift, (See PF ¶9). The more dancers
  there were, the more profitable the club tended to be. (PF ¶54). Stir Crazy management allowed
  one DJ per shift, decided the number of hours on each shift, and the club’s hours of operation.
  (PF ¶¶ 37, 55). Being a DJ did not require managerial skill. (PF ¶ 36).
       Stir Crazy, not the Plaintiff, had control over the determinants of customer volume. For
  example, Stir Crazy was responsible for bringing in customers, paid for and made decisions
  about the club’s marketing, promotions, advertising, special events, and billboard. (PF ¶¶38-39,
  43-44, 48). Stir Crazy hires dancers, controls how dancers perform their lap dances, decides how
  many dancers work per shift, and controls the atmosphere of the club such as lighting and how
  the club looks. (PF ¶¶ 49-50, 55). Since Stir Crazy had control over the determinant of customer
  volume, Stir Crazy exercised a high degree of control over the opportunity for profit and loss.
  See Reich v. Circle C Investments, Inc., 998 F.2d 324, 328 (5th Cir. 1993) (finding club

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  exercised “high degree of control over a dancer's opportunity for ‘profit’” because controlled
  “determinants of customer volume”); Clincy v Galardi South Enterprises, Inc., 808 F.Supp.2d
  1326, 1345-46 (N.D. Ga. 2011) (finding exotic dancers did not have significant control over their
  opportunity for profit and loss relative to the adult night club and citing numerous cases finding
  the same in the adult nightclub context).
          Even if a DJ plays great music, DJ’s at Stir Crazy cannot control what a customer is going
  to spend or the number of customers who come into the club, as some days the club is slow,
  some customers to do not leave big tips, or some dancers do not approach customers. (PF ¶53).
  Defendants may argue that the Plaintiff could be tipped more if the dancers made more money,
  but as one court has recognized all commissioned employees earning gratuities earn more money
  when they show more initiative and hustle. Brock v. Mr. W Fireworks, Inc., 814 F.2d 1042, 1050
  (5th Cir. 1987). As far as the Plaintiff’s initiative, much of it was circumscribed by Stir Crazy in
  terms of playing high energy music, playing only two songs per dancer, and by Stir Crazy’s
  control over the number of dancers and the determinants of customer volume. As such, the
  Plaintiff was “. . . far more closely akin to wage earners toiling for a living, than to independent
  entrepreneurs seeking a return on their risky capital investments.” Id. at 1051. Moreover, given
  the club’s investment, as discussed more fully below, the risk of loss was much greater for the
  club than for the Plaintiff. Cf. Clincy, 808 F.Supp.2d at 1346 (citing cases finding the same in the
  adult entertainment context).
          Thus, the money the Plaintiff received from the dancers for his DJ work was not similar to
  a return on a risky capital investment. The Plaintiff did not control the key determinants of profit
  and loss of Stir Crazy. The Plaintiff’s own managerial skill had no bearing on his own profits or
  losses. Thus, this factor also weighs in favor of Plaintiff being classified as an employee.
           3. Plaintiff’s Investment Was Negligible Relative to Defendants’ Investment in
              Operating the Club

          Here, Stir Crazy obviously had a significant investment in operating the club compared to
  the Plaintiff who could perform his DJ duties using only Stir Crazy’s equipment. (PF ¶68).
  Specifically, it is undisputed the Plaintiff’s laptop computer was not necessary for the Plaintiff to
  perform his DJ work. (PF ¶68). Defendant Insua Jr. owned the facility where Stir Crazy
  operated. (PF ¶57). The Plaintiff did not hire any employees to work under him at the club. (PF
  ¶62).

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        In contrast to the Plaintiff, the Defendant’s investment in the business was considerably
  higher. Stir Crazy owned the DJ sound booth, and sound booth computer. (PF ¶56). Stir Crazy
  supplied the equipment for music played in the club, including a house computer with thousands
  of songs, a sound mixing board, microphone amplifier, equalizer and speakers, hard wiring, and
  a lighting system. (PF ¶58). Stir Crazy’s supplied the sound equalizer system preset with a
  specific harmony, and keeps it locked up. (PF ¶58). Stir Crazy pays the music licensing fees for
  club music. (PF ¶59). Stir Crazy spent $10,000 to rewire the club’s sound system, to renovate
  the club, to install a new amplifier, and to renovate very expensive speakers. (PF ¶60). Stir
  Crazy paid for specialized computer software that downloads and plays music on the house
  computer. (PF ¶61). Stir Crazy pays all the bills for the business, including liquor, licenses,
  electric, water, liquor, phone bill and all utility bills. (PF ¶63). If something expensive in the club
  broke and needed to be repaired, Florez would speak to the Insua family about it. (PF ¶64). Stir
  Crazy management buys the lights, takes care of having the club cleaned, and arranges for food
  and beverage service. (PF ¶50-52).
        Plaintiff’s negligible investment in an optional laptop computer and his lack of employees,
  relative to Stir Crazy’s substantial investment in the club’s operations, including the DJ
  equipment, also weigh heavily in favor of finding employee status. Cf. Clincy, 808 F.Supp.2d at
  1347 (finding exotic dancer’s investment in exotic dancing to be small compared to defendant’s
  investment in the club).
         4. Plaintiff’s Work as a DJ Did Not Require a Special Skill
         Work as a DJ does not require a special skill. The work of a DJ at Stir Crazy consists of
  paying music, announcing dancers in a pre-determined rotation, announcing drink specials and
  party promotions determined by Florez. (PF ¶27, 65). The work was repetitious and akin to an
  assembly line. (PF ¶65). No special license or degree was required to be a DJ at Stir Crazy. (PF
  ¶66). The Plaintiff was hired with no prior DJ experience. (PF ¶67). Indeed, even the club
  bouncer could be a DJ. (PF ¶68). Martin v. Circle C Investments, Inc., 1991 WL 338239, *3
  (W.D. Tx. Mar. 27, 1991) (unreported) (finding that DJ’s were “unskilled laborers who perform
  the essential everyday chores of [the club’s] operation”). The Plaintiff did not demonstrate the
  type of skill or initiative indicative of a person in business for himself. Thus, this factor also cuts
  in favor of dependence and employee status.



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          5. The Plaintiff’s Working Relationship Was Permanent and of Long Duration
        The Plaintiff worked for the Defendant Stir Crazy from 2001 to September 21, 2013, (PF ¶
   2). While the Plaintiff contends he worked more hours, Defendants do not dispute the Plaintiff
   generally worked at least four shifts of 8.5 hour each per week, (PF ¶13). The Plaintiff worked
   as a DJ only for Stir Crazy. (PF ¶69). The Plaintiff anticipates that the Defendants may argue
   that the Plaintiff could have worked for other clubs, but this argument is irrelevant. “It is not
   significant how one ‘could have’ acted under the contract terms. The controlling economic
   realities are reflected by the way one actually acts.” Usery v. Pilgrim Equip Co., 527 F.2d 1308,
   1312 (5th Cir. 1976).
        Moreover, while the Plaintiff obtained mortgage license and worked on three occasions at
   an auction, (PF ¶69), that does not diminish his status as an employee of Stir Crazy. This would
   be true even if the Plaintiff had worked at other DJ clubs or had other jobs. In an analogous case
   involving dancers, a court has explained:
          “[t]hat dancers were free to work at other clubs or in other lines of work, and that
          they were not permanent employees, do not distinguish them from countless
          workers in other areas of endeavor who are undeniably employees under the
          FLSA-for example, waiters, ushers, and bartenders.” Hart, 2013 WL 4822190, at
          *14. In light of the other factors, this alone cannot nudge the Plaintiffs out of the
          protective sphere of the FLSA. See Reich, 998 F.2d at 328-29 (“The transient
          nature of the work force is not enough here to remove the dancers from the
          protections of the FLSA. In analyzing the ... factors, we must not lose sight of
          economic reality.”).

   Stevenson v. Great American Dream, Inc., 2013 WL 6880921, *5 (N.D. 2013) (footnote
   omitted).
        Thus, the extremely long duration and permanency of the working relationship between the
   Plaintiff and Defendant Stir Crazy points directly to employee status.
          6. The Plaintiff’s DJ Duties Were Integral to Defendant’s Business
          The extent to which the work performed by the alleged employees was integral to the
   business of the employer is a factor in determining economic dependence. Aimable, 20 F.3d at
   444 (citing Rutherford, 331 U.S. at 730); Antenor, 88 F.3d at 925 (same). Here, having a DJ
   play music, announce the dancers, and make other club announcement was indeed important to
   Stir Crazy’ operation. The nature of Stir Crazy’s business model is that of an exotic dance club
   that plays music for dancers to dance to, and for customers to watch. (PF ¶3). The Plaintiff


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   performed his work as a DJ in the club, side by side with other employees at the club, not at
   some remote location. Playing music is an integral part of operating an exotic dance club, and
   without good music, a club cannot be successful because the music keeps the customers and the
   dancers happy. (PF ¶¶70). It would not make sense for dancers to dance without music being
   played, and Stir Crazy needed music in order for dancers to dance. (PF ¶71). Significantly, Stir
   Crazy had a DJ on every shift, (PF ¶37), which is further evidence that the DJ’s work was
   integral to the club’s operation. Moreover, Stir Crazy’s significant investment in the music,
   sound system, specialized computer software, sound booth, sound mixing board, microphone
   amplifier, equalizer, speakers, wiring, and house computer, (PF ¶56, 58, 60), further indicates
   that the DJ position was integral to the club.
          The Plaintiff also paid a $25 per shift house fee to the club, (PF ¶10), thus contributing to
   the money the club made. The Plaintiff also performed other tasks for Defendants to help run Stir
   Crazy, which were unrelated to playing music, such as emailing Defendant, Manuel Insua Jr. a
   list of the number of dancers working on each shift and their arrival time, as well as answering
   the house phone and routing calls. (PF ¶24, 28). While these tasks were unrelated to his DJ
   work, they were of benefit to Stir Crazy (i.e. keeping track of dancers and answering the phone),
   and assisted in the club’s operations.
          While Stir Crazy may argue that having a DJ play music for the exotic dancers was not
   integral because the club also sells food and drinks to attract customers, that does not diminish
   the fact that having a DJ playing music on every shift, announcing dancers, and making other
   club announcements was an integral part to the success of Stir Crazy. Cf. Hart v. Rick’s Cabaret
   Intern., Inc., 967 F.Supp. 901, 921 (S.D.N.Y. 2013) (in concluding that exotic dancers were
   FLSA employees of exotic dance club, court reasoned that argument that exotic dancers were not
   essential was “totally unpersuasive,” that no reasonable jury could conclude dancers were not
   integral, and noting that dancers were not like shoe-shine employees at an airport).
          In light of the foregoing, the Plaintiff’s work as a DJ was integral to Stir Crazy’s business
   model for its exotic dance club, thereby weighing in favor of employee status.
          7. Other Courts and the Department of Labor Have Found Workers in the Adult
             Entertainment Business to Be Employees

          Numerous courts have addressed employee status in the adult entertainment club context
   and found employee status. For example, in a factually similar case brought by the Secretary of

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   Labor,2 against an adult entertainment club, the court found, after a bench trial, that the DJ’s,
   among others, were employees of the club and entitled to FLSA protection. Martin v. Circle C
   Investments, Inc., 1991 WL 338239, *4-6 (W.D. Tx. 1991). The court explained that DJ’s were
   “unskilled laborers who perform the essential everyday chores of (Circle C’s) operation.” Id. at
   *3. The Martin court also found the defendants exercised a “great deal of control over the . . .
   disc jockeys . . . .” because defendants determined the work schedule, fined for absences and
   tardiness, called at home to come to work, fined for infringing numerous rules promulgated by
   defendants, required employees to tip out, and regulated the music played. Id. at *3-4. The
   Martin court also mentioned that the DJ’s did not have any ownership interest in the facilities,
   and there was no mention of property owed by the DJ’s. Id. at *4. This Court should follow the
   persuasive and well-reasoned Martin decision.
          Similarly, where courts have addressed the question of whether exotic dancers are
   employees under the FLSA, “[n]early ‘[w]ithout exception, these courts have found an
   employment relationship and required the nightclub to pay its dancers a minimum wage.’” Hart
   v. Rick's Cabaret Intern., Inc., 967 F.Supp.2d 901, 912 (S.D.N.Y. 2013)(holding on summary
   judgment that exotic dancers were employees under FLSA under economic realities test) (citing
   Harrell v. Diamond A Entm’t, Inc., 992 F.Supp. 1343, 1347-48 (M.D. Fla. 1997). See also,
   Clincy v. Galardi S. Enters., Inc., 808 F.Supp.2d 1326, 1343 (N.D. Ga. 2011) (finding that exotic
   dancers were employees on summary judgment); Thorton v. Crazy Horse, Inc., 2012 WL
   2175753 (D. Alaska June 14, 2012) (finding that dancers at an adult establishment
   were employees); Thompson v. Linda and A. Inc., 779 F.Supp.2d 139, 151 (D.D.C. 2011)
   (finding that exotic dancers were employees on summary judgment); Morse v. Mer Corp., 2010
   WL 2346334, at *6 (S.D. Ind. 2010); see also Doe v. Cin-Lan, Inc., 2008 WL 4960170 (E.D.
   Mich. Nov. 20, 2008) (granting entertainer's motion for preliminary injunction, holding that
   entertainer was substantially likely to succeed on claim that she is an employee under FLSA);
   Reich v. Circle C. Invs., Inc., 998 F.2d 324 (5th Cir. 1993) (finding topless dancers
   were employees under the FLSA); Reich v. Priba Corp., 890 F.Supp. 586 (N.D. Tex.
   1995) (finding after bench trial that entertainers at adult club were employees); Martin v. Priba
   Corp., 1992 WL 486911 (N.D. Tx. Nov. 6, 1992) (denying employer’s motion for summary

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     The Secretary of Labor heads the Department of Labor, an agency responsible for
   administering, interpreting, and enforcing the FLSA.
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   judgment regarding employee status of topless dancers); Jeffcoat v. Alaska Dep't of Labor, 732
   P.2d 1073 (Alaska 1987) (finding dancers to be employees under state labor laws modeled on
   FLSA). But see Matson v. 7455, Inc., 2000 WL 1132110 (D. Or. Jan. 14, 2000) (unreported)
   (applying economic reality test that did not include analysis of whether exotic dancer was
   integral to adult club, and stating the independent contractor agreement dancer signed was “the
   most telling indicator of her status as an independent contractor”); Hilborn v. Prime Time Club,
   Inc., 2012 WL 9187581, *4 (E.D. Ark. July 12, 2012) (unreported) (summary judgment finding
   exotic dancers were not employees with less than 2 pages of discussion, without a single citation
   to the record and almost no factual analysis).
          Based on the foregoing facts and law, this Court must find as a matter of economic reality
   that the Plaintiff was an employee of Stir Crazy when he worked there as a DJ.
   III.   FAILING TO PAY A DIRECT WAGE TO PLAINTIFF VIOLATES THE FLSA

          Since Plaintiff is an employee of Stir Crazy under the FLSA, he is entitled to be paid the
   full minimum wage for all hours he worked, and overtime wages for any hours worked over
   forty. See 29 U.S.C. §§206 and 207. Stir Crazy, however, paid the Plaintiff no wages. (PF ¶8).
   Where, as here, an employee receives only tips and no direct wage from the employer, the
   employee is entitled to the full minimum wage for all hours worked. Department of Labor Fact
   Sheet #15: Tipped Employees Under the Fair Labor Standards Act, available at
   http://www.dol.gov/whd/regs/compliance/whdfs15.pdf.

   IV.    DEFENDANT, HERIBERTO FLOREZ, WAS AN FLSA EMPLOYER
          As set forth above, the FLSA creates a private right of action against any “employer”
   who violates its minimum-wage or overtime provisions. FLSA, 29 U.S.C. §216(b). “The Act
   defines the term “employer” broadly to include “both the employer for whom the employee
   directly works as well as ‘any person acting directly or indirectly in the interests of an employer
   in relation to an employee.’” Lamonica v. Safe Hurricane Shutters, 711 F.2d 1229, 1309 (11th
   Cir. 2013) (citation omitted) (determining that corporate supervisors other than officers may be
   personally liable under the FLSA, and clarifying the degree and type of operational control that
   will support individual liability). The FLSA contemplates imposing liability upon individuals.
   Lamonica, 711 F.2d at 1313 (11th Cir. 2013). “[N]on-officers may be held personally liable
   under the FLSA.” Id. For an individual to qualify as an employer under the FLSA, he “must


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   either be involved in the day-to-day operation or have some direct responsibility for the
   supervision of the employee.” Patel v. Wargo, 803 F2d 632, 638 (11th Cir. 1986). [T]here must
   be control over “significant aspects of [the company's] day-to-day functions, including
   compensation of employees or other matters in relation to an employee.” Lamonica, 711 F.2d at
   1313 (citation omitted). “[S]uch control need not be proved directly. For example, the jury may
   infer such control from the exercise of general supervisory powers or the exercise of control over
   other employees.” Id. (emphasis added). Even control “exercised only occasionally does not
   diminish its existence.” Id. (citation and quotation omitted). Whether an individual fits the
   definition of an FLSA employer “does not depend on technical or isolated factors but rather on
   the circumstances of the whole activity.” Id. at 1310 (citation omitted).
      Here, Defendant Florez, who is the general manager of the club, (PF ¶6), easily fit within the
   FLSA’s definition of an employer subject to individual liability. Florez authorized firing the
   Plaintiff, makes personnel decisions, and hires and fires workers at the club. (PF ¶¶81-82, 94).
   Florez’ duties involve everything at the club: the day-to-day operations, how to make the club
   more profitable, telling people what to do, and supervising everyone at the club, including
   managers, the DJ’s and the Plaintiff. (PF ¶82-83). Florez decided to have dancers pay a house
   fee to the club. (PF ¶84). Florez gives schedules to the managers for the managers, bartenders
   and DJ’s. (PF ¶¶19, 85). Florez makes the schedules on the computer, and had final approval of
   the schedules. (PF ¶86). Florez can remove DJ’s from the schedule. (PF ¶87). Florez supervises
   workers, makes sure the dancers are dancing, that music is playing, and that customers are
   drinking. (PF ¶88). Florez resolves arguments between a DJ and a dancer, and enforces dancer’s
   payments to DJ’s. (PF ¶89-90). Florez purchases liquor for Stir Crazy, meets with managers
   about the club specials, about what the club is going to do, and prepares for parties. (PF ¶91).
   Florez pays bills for the club such as licenses, electric, water, liquor, phone bill and all utility
   bills. (PF ¶91). Florez discusses the club’s bank statements with the club’s owners. (PF ¶96).
   Florez prepares the club’s daily and weekly sales reports and emails them to the Insua family
   (Manuel Insua, Sr., Manuel Insua, Jr., and Laura Insua). (PF ¶97). Florez discusses the weekly
   financial reports with the club’s owner. (PF ¶98). Florez discusses with the club’s owners, the
   number of dancers working at the club. (PF ¶99). Florez meets with Manuel Insua, Sr. to discuss
   what is best for the club to make it more profitable. (PF ¶101), and meets with Defendant, Insua
   Jr. to discuss problems with workers such as DJ’s managers and cleaners. (PF ¶100).

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          Florez also is involved in employee compensation and maintaining employment records.
   It was Florez’ idea for DJ’s sign to an independent contractor agreement. (PF ¶92). Florez writes
   Stir Crazy’s payroll checks and reports to a payroll company how much each employee worked
   and how much they should be paid. (PF ¶93). He does not report anything to the payroll
   company for Stir Crazy’s DJ’s, as they are paid by the dancers. (PF ¶93). Florez is involved in
   discussions and decisions of compensation to workers. (PF ¶95).
          This Court should follow numerous other courts finding FLSA liability of supervisors.
   For example, in Brock v. VAFLA Corp., 668 F.Supp. 1516, 1517, 1519 (M.D. Fla. 1987), the
   court held a bench trial in an FLSA case, and imposed personal liability on an amusement park
   general manager who oversaw the operation of the park on a day-to-day basis, determined the
   duties of employees, set the wage rates of new employees, occupied an office in which payroll
   records and work hours records were maintained, and discussed personnel matters with the
   corporation's directors. The Brock court concluded that it was clear the individual manager
   defendant “acted directly and indirectly in the interest of defendant [ ] Corporation in relation to
   its employees.” Id. Similarly, in Arean v. Central Florida Investments, Inc., 2012 WL 1191651,
   *1, *12 (M.D. Fla. Apr. 10, 2012), the court denied summary judgment to a supervisor/property
   manager in light of the FLSA’s expansive definition of an employer, statute’s remedial purpose,
   and because defendant “supervised the day-to-day operations of [the corporate defendant],
   prepared the weekly time sheets upon which payroll was based, issued disciplinary warnings to
   employees including Plaintiffs, exercised control over Plaintiffs' work hours, and directly
   supervised Plaintiffs.”
          Based on the above facts and applicable law, the must find as a matter of law that Florez is
   an FLSA employer.
   V.     DEFENDANTS STIR CRAZY AND FLOREZ RETALIATED AGAINST THE
          PLAINTIFF FOR ASSERTING HIS FLSA AND FMWA WAGE RIGHTS

          The Plaintiff seeks summary judgment in his favor and against Defendants Florez and
   Stir Crazy as his retaliation claim. Section 215(a)(3) provides in relevant part: “it shall be
   unlawful for any person . . . to discharge or in any other manner discriminate against any
   employee because such employee has filed any complaint.” For a plaintiff to establish the
   elements of an FLSA retaliation claim, he must prove: (1) he engaged in statutorily protected
   activity; (2) he suffered adverse action by his employer; and (3) this adverse action occurred as a


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   consequence of her protected activity. Wolf v. Coca–Cola Co., 200 F.3d 1337, 1342–43 (11th
   Cir. 2000).
          First, with respect to protected activity, the FLSA protects from retaliation employees
   who make oral or written complaints to their employer about FLSA violations. Kasten v. Saint–
   Gobain Performance Plastics Corp., 131 S.Ct. 1325 (2001) (holding that the phrase “filed any
   complaint” in the anti-retaliation provision of the FLSA includes oral as well as written
   complaints). Although the filing of a complaint under § 215(a)(3) need not be in the form of an
   official complaint, see E.E.O.C. v. White & Son Enters., 881 F.2d 1006, 1011 (11th Cir. 1989), or
   even be in writing, some degree of formality is required in order that the employer has “fair
   notice” that an employee is lodging a grievance. Kasten, 131 S.Ct. at 1334–36.
          First, the Plaintiff complained by letter to his employer about the non-payment of
   minimum wages and overtime. (PF ¶72). Thus, the Plaintiff engaged in protected activity under
   the law.
          Second, there is no dispute that the Plaintiff suffered adverse employment action.
   Defendants Stir Crazy and Florez admit the Plaintiff was terminated. (PF ¶¶ 2, 74, 79). When
   the Plaintiff was terminated, he was not able to work the shift for which he had shown up to
   work. (PF ¶76), resulting in him not making any money for that shift, (PF ¶80), and thereafter.

          Third, to establish a causal connection between an employee's protected activity and an
   employer's adverse employment action, the employee must show he “would not have been fired
   but for his assertion of FLSA rights.” Wolf, 200 F.3d at 1343. At the prima facie stage of the
   case, this standard requires the employee to show that his protected activity and the adverse
   employment action are not completely unrelated. See Pennington v. City of Huntsville, 261 F.3d
   1262 (11th Cir. 2001).    Here, Defendants Florez and Stir Crazy testified the Plaintiff was
   terminated the same day Florez learned of the Plaintiff’s wage complaint. (PF ¶74). Indeed,
   Florez has testified he learned of the complaint around noon and terminated the Plaintiff when
   the Plaintiff came in for his 8:30 pm shift. (PF ¶¶73, 74, 76). The temporal proximity is strong
   circumstantial evidence of a causal connection since the Plaintiff was terminated. But here,
   there also is direct evidence of retaliation. After learning of the Plaintiff’s wage grievance,
   Florez and Stir Crazy determined that Rosario could not be in the club any more. (PF ¶73). At
   the time Florez terminated Rosario, Florez knew Rosario had complained about his wages, and
   Florez was disappointed. (PF ¶77). Florez put his hand on Rosario’s shoulder and responded,
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   “Mitch, I guess this is the end.” (PF ¶78). Florez said there was nothing more to say, Rosario
   then left, and Florez and Augusto went back into the club. (PF ¶78). Rosario’s name was
   scratched off the schedule because his services were terminated. (PF ¶78).

           Thus, there is no dispute of material facts that the Defendants Florez and Stir Crazy
   retaliated against the Plaintiff by terminating him after learning of his wage grievance. Thus, the
   Plaintiff is entitled to judgment as a matter of law as against those two Defendants as to his
   retaliation claim. The amount of damages the Plaintiff suffered as a result of the retaliatory
   conduct, however, is an issue for trial since the Plaintiff disputes whether the Defendants
   subsequently offered him his job back at some point after Plaintiff’s termination.

           WHEREFORE, the Plaintiff respectfully requests this Court enter partial summary
   judgment and find the Plaintiff was an employee of Stir Crazy, Defendant Florez was an FLSA
   and FMWA employer subject to individual liability, that the Defendants Florez and Stir Crazy
   retaliated against the Plaintiff, and grant Plaintiff such further relief as the Court deems just.



                                     CERTIFICATE OF SERVICE
           I hereby certify that on June 6, 2014, I electronically filed the foregoing document with
   the Clerk of the Court using CM/ECF. I also certify that the foregoing document is being served
   this day on all counsel of record or pro se parties identified on the attached Service List in the
   manner specified, either via transmission of Notices of Electronic Filing generated by CM/ECF
   or in some other authorized manner for those counsel or parties who are not authorized to receive
   electronically Notices of Electronic Filing.
                                                   Respectfully submitted,


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